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           IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION


THERABODY, INC.,
A Delaware Corporation,

      Plaintiff,

vs.                                         Case No. 4:21cv493-WS-MAF

REATHLETE LLC,
a Florida Limited Liability Company;
and DOES 1-10, inclusive,

     Defendants.
_______________________________/


                                ORDER

      The parties have filed a second joint motion to modify the Scheduling

Order. ECF No. 26. The Scheduling Order was previously modified on

July 13, 2022. ECF No. 25. Having shown good cause, the motion is

granted.

      Accordingly, it is

      ORDERED:

      1. The second joint motion to modify the scheduling order, ECF No.

26, is GRANTED.
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      2. The deadline to exchange claim terms pursuant to the parties’

stipulation is November 22, 2022.

      3. The deadline to exchange proposed constructions is December

13, 2022.

      4. The deadline to file Joint Claim Construction Statement is January

3, 2023.

      5. The deadline to complete claim construction discovery is January

17, 2023.

      6. The deadline to file opening claim construction briefs is February

2, 2023.

      7. The deadline to file responsive claim construction briefs is

February 23, 2023.

      8. The deadline to complete all fact discovery is March 23, 2022.

      9. Dispositive motions must be filed no later than 90 days after the

Court’s Claim Construction Order, and the parties have 21 days thereafter

to file responses.




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      10. The parties must advise the Court if, and when, they will

participate in mediation no later than January 20, 2023.1

      DONE AND ORDERED on October 4, 2022.



                                     S/ Martin A. Fitzpatrick
                                     MARTIN A. FITZPATRICK
                                     UNITED STATES MAGISTRATE JUDGE




      1
       The parties previously indicated they would participate in mediation in April
2022. ECF No. 16 at 2. Although the parties have explained that they are “actively
engaged in settlement discussions,” see ECF No. 20 at 1 and ECF No. 26 at 2, nothing
has been filed concerning mediation.

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